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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In re:                                                      Case No. A19-67578-PWB
         SHEENA BLACKWELL YOUNG

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       K. Edward Safir, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 11/04/2019.

         2) The plan was confirmed on 03/05/2020.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
04/14/2022.

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was converted on 10/21/2022.

         6) Number of months from filing to last payment: 34.

         7) Number of months case was pending: 36.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $29,851.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

        Total paid by or on behalf of the debtor                  $36,773.35
        Less amount refunded to debtor                               $752.00

NET RECEIPTS:                                                                                        $36,021.35


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                     $5,350.00
    Court Costs                                                                   $0.00
    Trustee Expenses & Compensation                                           $2,518.15
    Other                                                                         $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                      $7,868.15

Attorney fees paid and disclosed by debtor:                         $0.00


Scheduled Creditors:
Creditor                                           Claim         Claim            Claim        Principal       Int.
Name                                 Class       Scheduled      Asserted         Allowed         Paid          Paid
CAVALRY SPV I, LLC.              Unsecured             788.00        788.32           788.32           0.00        0.00
CREEKSIDE COMMUNITY ASSOCIATION,    INC.
                                 Secured            1,535.00       7,903.43         7,903.43      3,686.68         0.00
DISCOVER BANK                    Unsecured             581.00        581.04           581.04           0.00        0.00
FIRST ASSOCIATES LOAN SERVICING, LLC
                                 Unsecured          1,405.00       1,424.31         1,424.31           0.00        0.00
LVNV FUNDING, LLC                Unsecured                NA         280.70           280.70           0.00        0.00
MICROF LLC                       Secured                  NA         153.62           153.62        153.62         0.00
PORTFOLIO RECOVERY ASSOCIATES, LLC
                                 Unsecured          3,033.00       3,032.65         3,032.65           0.00        0.00
RENASANT BANK                    Secured            9,828.00     14,562.90        14,562.90       9,310.51      659.27
Brock & Scott PLLC               Unsecured               0.00           NA               NA            0.00        0.00
GADOR                            Priority                0.00           NA               NA            0.00        0.00
IRS                              Priority                0.00           NA               NA            0.00        0.00
Central Credit Services, LLC     Unsecured             126.00           NA               NA            0.00        0.00
Chase Card Services              Unsecured          6,951.00            NA               NA            0.00        0.00
Chase Card Services              Unsecured         10,177.00            NA               NA            0.00        0.00
Citibank/Sears                   Unsecured               0.00           NA               NA            0.00        0.00
Renasant Bank                    Unsecured         12,963.00            NA               NA            0.00        0.00
Resurgent Capital Services       Unsecured             327.00           NA               NA            0.00        0.00
The Brand Banking Co             Unsecured               0.00           NA               NA            0.00        0.00
Thomas E Austin Jr               Unsecured               0.00           NA               NA            0.00        0.00
U.S. Department of Education     Unsecured         15,528.00            NA               NA            0.00        0.00
U.S. Department of Education     Unsecured         15,895.00            NA               NA            0.00        0.00
U.S. Department of Education     Unsecured         27,487.00            NA               NA            0.00        0.00
U.S. Department of Education     Unsecured          3,168.00            NA               NA            0.00        0.00
U.S. Department of Education     Unsecured         19,527.00            NA               NA            0.00        0.00
U.S. Department of Education     Unsecured         10,425.00            NA               NA            0.00        0.00
Genesis Financial/Jared          Unsecured             561.00           NA               NA            0.00        0.00
Lueder, Larkin & Hunter, LLC     Unsecured               0.00           NA               NA            0.00        0.00
Medical Data Systems (MDS)       Unsecured          3,120.00            NA               NA            0.00        0.00
TRUIST BANK                      Secured           35,000.00     36,903.91        36,903.91      14,343.12         0.00
WELLS FARGO BANK, N.A.           Unsecured          3,043.00       3,043.45         3,043.45           0.00        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim            Principal           Interest
                                                            Allowed                Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00             $0.00              $0.00
       Mortgage Arrearage                                 $36,903.91        $14,343.12              $0.00
       Debt Secured by Vehicle                                 $0.00             $0.00              $0.00
       All Other Secured                                  $22,619.95        $13,150.81            $659.27
 TOTAL SECURED:                                           $59,523.86        $27,493.93            $659.27

 Priority Unsecured Payments:
        Domestic Support Arrearage                              $0.00               $0.00            $0.00
        Domestic Support Ongoing                                $0.00               $0.00            $0.00
        All Other Priority                                      $0.00               $0.00            $0.00
 TOTAL PRIORITY:                                                $0.00               $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                               $9,150.47                $0.00            $0.00


Disbursements:

         Expenses of Administration                             $7,868.15
         Disbursements to Creditors                            $28,153.20

TOTAL DISBURSEMENTS :                                                                       $36,021.35


       12) The trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests that the trustee be discharged and granted such relief as may be just and proper.

Dated: 11/04/2022                             By: /s/ K. Edward Safir
                                                                          Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:                                         )      CHAPTER 13
SHEENA BLACKWELL YOUNG                         )
                                               )      CASE NO. A19-67578-PWB
                                               )
DEBTOR                                         )

                                CERTIFICATE OF SERVICE

This is to Certify that I have this day served the following with a copy of the foregoing Chapter
13 Trustee's Final Report and Account by depositing in the United States Mail a copy of same in
a properly addressed envelope with adequate postage thereon.

   SHEENA BLACKWELL YOUNG
   3304 QUICK WATER LANDING NW
   KENNESAW, GA 30144

I further certify that I have on this day electronically filed the pleading using the Bankruptcy
Court's Electronic Filing program, which sends a notice of this document and an accompanying
link to this document to the following parties who have appeared in this case under the
Bankruptcy Court's Electronic Case Filing program:

   CLARK & WASHINGTON

DATED: 11/04/2022                                                       /S/
                                                    K. Edward Safir, Chapter 13 Trustee
                                                    State Bar No. 622149
                                                    285 Peachtree Center Ave
                                                    Suite 1600
                                                    Atlanta, GA 30303-1229
                                                    (404) 525-1110
                                                    eds@atlch13tt.com




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